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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In the Matter of the Arbitration
Between

 

TUBE CITY IMS= LLC, case No. 14-civ.-1783
Petitioner,

-against-
CERTIFICATE OF SERVICE
ANZA CAPITAL PARTNERS LLC,

 

Respondent.

 

I, Justin Gunnell, certify under penalties _of perjury that on March 17, 2014, I served
copies of the (l) Notice of Petition to Contirm Arbitration Award; (2) Petition to Confirm
Arbitration Award; (3) Petitioner’s Rule 7.l Corporate Disclosure Statement; (4) Individual
Rules of Practice in Civil Cases of Judge Paul A. Engelmayer; and (5) Electronic Case Filing
Rules & Instructions of the U.S. District Court for the Southern District of New York on
Respondent Anza Capital Partners LLC (“Anza”) pursuant to 9 U.S.C. § 9 by causing the
aforementioned documents to be sent to Anza’s principal place of business by U.S. mail and to
An`za’s counsel, Michael Levine Esq., by U.S. mail and email at the addresses below.

Anza Capital Partners LLC

333 East 45th Street, Suite 26A
NeW York, New York 10017
Michael Levine, Esq.

Levine & Associates, P.C.

15 Barclay Road

Scarsdale, New York 105 83
Email: ml@levlaw.org

 

Jus .l. Gunnell

